Case 6:18-bk-06821-KSJ Doc108 Filed 05/22/19 Page 1of2

FILED

 

UNITED STATES BANKRUPTCY COURT MAY 24 2019
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION Cierk, U.S. Bankrupicy,

Orlando Division
In re:

Don Karl Juravin
Aka DON ADI JURAVIN CASE NO. 6:18-bk-06821-CCJ

Chapter 7
Debtor,
/

DEBTOR DON KARL JURAVIN’S
MOTION TO STAY PROCEEDINGS

Debtor, Don Karl Juravin (“Juravin”), files this Motion to Stay Proceedings and states as

follows:
1. I am the debtor in the above-captioned case.
2. I was represented by Burr & Forman in this case from the beginning.
3. About two weeks ago I received the order from the Court in case number dated

April 22, 2019 stating Burr & Forman had withdrawn from the case.

4. I did not receive advance notice that Burr & Forman wanted to withdraw from the
case.

5. I have been looking for a new attorney, but this case is complicated and there is
over 26 million dollars at stake. Therefore, I need time to find a qualified attorney and a way to
pay for them.

6. I require an additional 90 days from today’s date to find and retain a new attorney
in this case.

7. This motion is not made for purposes of delay and neither party will be prejudiced

if the stay is granted.
Case 6:18-bk-06821-KSJ Doc108 Filed 05/22/19 Page 2 of 2

8. On May 21, 2019 I spoke with the attorney for the trustee and advised him I would
be filing this Motion. He did not say whether or not he objected.

WHEREFORE, I respectfully request that the Court enter an Order granting Defendant
Don Karl Juravin 90 days from today’s date, Monday August 19, 2019, to obtain a new attorney
in this case.

Dated: May 21, 2019

/s/ oa

Don KartSuravin
15118 Pendio Drive
Monteverde, FL 34756
don@juravin.com
Defendant/Debtor

Prepared with the Assistance of Counsel
CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on May 21, 2019 I filed the foregoing document with the Clerk
of the Court and e-mailed a copy to Brad Saxton, Esq., counsel for the Trustee,
BSaxton@whww.com, Robyn Marie Severs, attorney for Bella Collina Property Owner’s
Association, Inc., rsevers@beckerlawyers.com, Marc J Randazza, mjr@randazza.com, attorney
for Consumer Opinion Corp., William C. Matthews, attorney for Bella Collina Property Owner’s
Association, Inc. and DCS Real Estate Investments, LLC, wmatthews@shutts.com, David M.
Landis, attorney for DCS Real Estate Investments, LLC, dlandis@mateerharbert.com, and,
Michael P. Mora, mmora@fic.gov, Federal Trade Commission.

/s/
Don Ka ravin
